             8:20-cr-00452-DCC                Date Filed 11/02/21      Entry Number 329         Page 1 of 1



AO 455 (Rev. 0 1/09) Waiver ofan Indictment


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                                    District of South Carolina


                    United States of America
                                 v.                                    Case No.   8:20cr452-8
                          John Towery

                             Defendant


                                                WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.




Date: _        I/_'//~
              /__    !},(__                                                  ~
                                                                           Cl
